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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

TARIQ BROWN,

                           Petitioner,
      v.                                                    DECISION AND ORDER
                                                                17-CV-1278S
UNITED STATES OF AMERICA,                                      12-CR-103S (8)

                           Respondent.




                                   I. INTRODUCTION

      Presently before this Court is Petitioner Tariq Brown’s pro se Motion to Vacate,

Set Aside, or Correct his Sentence under 28 U.S.C. § 2255. (Docket No. 905.) For the

reasons discussed below, Brown’s motion is denied.

                                   II. BACKGROUND

      Brown appeared before this Court on August 3, 2016, and pleaded guilty to Count

2 of the fourth superseding indictment, which charged him with violating 18 U.S.C. § 1962

(d) (RICO conspiracy). (See Docket Nos. 594, 597.) Brown pleaded guilty with the benefit

of a plea agreement, in which he agreed that his maximum possible sentence by statute

was a term of life imprisonment, a fine of $250,000, a mandatory $100 special

assessment, and a term of supervised release of five years. (Plea Agreement, Docket

No. 594, ¶ 1.) Brown further agreed that for purposes of the Sentencing Guidelines, he

had a total offense level of 40 and a criminal history category of III, which resulted in a

Guidelines sentencing range of 360 months to life imprisonment, a fine of $25,000 to

$250,000, and a term of supervised release of 2 to 5 years. (Plea Agreement, ¶ 18.)

Notwithstanding these Sentencing Guidelines ranges, however, Brown and the


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government agreed under Rule 11 (c)(1)(C) of the Federal Rules of Criminal Procedure

that this Court should impose a sentence of 264 months’ imprisonment. (Plea Agreement,

¶ 19.)

         In his plea agreement, Brown also acknowledged and waived his rights to appeal

and collaterally attack his guilty plea and sentencing under certain circumstances as

follows:

               The defendant understands that Title 18, United States Code,
               Section 3742 affords a defendant a limited right to appeal the
               sentence imposed. The defendant, however, knowingly
               waives the right to appeal and collaterally attack any
               component of a sentence imposed by the Court which falls
               within or is less than the sentencing range for imprisonment,
               a fine and supervised release set forth in Section III, ¶ 18 [the
               Sentencing Guidelines calculations], above, notwithstanding
               the manner in which the Court determines the sentence. In
               the event of an appeal of the defendant’s sentence by the
               government, the defendant reserves the right to argue the
               correctness of the defendant’s sentence.

               The defendant understands that by agreeing to not collaterally
               attack the sentence, the defendant is waiving the right to
               challenge the sentence in the event that in the future the
               defendant becomes aware of previously unknown facts or a
               change in the law which the defendant believes would justify
               a decrease in the defendant’s sentence.

(Plea Agreement, ¶¶ 25, 26.)

         Brown further acknowledged that he had a full opportunity to discuss the terms of

the plea agreement with his lawyer, that he understood all of the consequences of his

guilty plea, that he fully agreed with the contents of the plea agreement, and that he was

entering the plea agreement voluntarily and of his own free will. (Plea Agreement, p. 12.)

         On December 5, 2016, this Court accepted the Rule 11 (c)(1)(C) provision of the

parties’ plea agreement and sentenced Brown to 264 months’ imprisonment, no fine, 5



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years’ supervised release, and a $100 special assessment, in accordance with the

parties’ agreement. (Docket Nos. 727, 739, 773.) It also imposed total restitution in the

amount of $37,791.24. Id. Brown did not appeal his conviction or sentence.

        Just under one year later, on December 4, 2017, Brown timely filed the instant §

2255 motion, 1 which the government opposes. 2 (Docket Nos. 905, 955, 981.) After full

briefing, this Court took the motion under advisement without oral argument.

                                             III. DISCUSSION

A.      § 2255 Proceedings

        Twenty-eight U.S.C. § 2255 allows federal prisoners to challenge the legality of

their sentences. It provides, in pertinent part, that:

        A prisoner in custody under sentence of a court established by Act of
        Congress claiming the right to be released upon the ground that the
        sentence was imposed in violation of the Constitution or laws of the United
        States, or that the court was without jurisdiction to impose such sentence,
        or that the sentence was in excess of the maximum authorized by law, or is
        otherwise subject to collateral attack, may move the court which imposed
        the sentence to vacate, set aside or correct the sentence.

28 U.S.C. § 2255 (a).

        Importantly, a § 2255 motion is not a substitute for an appeal. See Bousley v.

United States, 523 U.S. 614, 621, 118 S. Ct. 1604, 140 L. Ed. 2d 828 (1998) (“Habeas

review is an extraordinary remedy and ‘will not be allowed to do service for an appeal.’”)

(quoting Reed v. Farley, 512 U.S. 339, 354, 114 S. Ct. 2291, 2300, 129 L. Ed. 2d 277

(1994)). Relief under § 2255 is therefore narrowly limited, with collateral attack on a final

criminal judgment available “only for a constitutional error, a lack of jurisdiction in the



1 A 1-year statute of limitations applies to § 2255 petitions.   See 28 U.S.C. § 2255 (f).

2 Brown’s motion includes requests for discovery and a hearing.       (Docket No. 905.)

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sentencing court, or an error of law or fact that constitutes a fundamental defect which

inherently results in complete miscarriage of justice.” Graziano v. United States, 83 F.3d

587, 589-90 (2d Cir. 1996) (per curiam) (quoting United States v. Bokun, 73 F.3d 8, 12

(2d Cir. 1995) (internal quotation marks omitted)).         This narrow limitation preserves

respect for finality, allows for the efficient allocation of judicial resources, and recognizes

an aversion to retrying issues long after they occur. See Bokun, 73 F.3d at 12 (citations

omitted).

       To shape the narrow relief available under § 2255, two procedural rules apply to

make it more difficult for a defendant to upset a final criminal judgment on collateral

review. See Yick Man Mui v. United States, 614 F.3d 50, 53 (2d Cir. 2010). First, the

“mandate rule” bars re-litigation of issues already decided on direct appeal. See id.; see

also Burrell v. United States, 467 F.3d 160, 165 (2d Cir. 2006); United States v. Perez,

129 F.3d 255, 260 (2d Cir. 1997) (“[I]t is well-established that issues decided on direct

appeal may not be re-litigated in the context of a petition under § 2255.”) This includes

“not only . . . matters expressly decided by the appellate court, but also . . . re-litigation of

issues impliedly resolved by the appellate court’s mandate.” Yick Man Mui, 614 F.3d at

53 (citing United States v. Ben Zvi, 242 F.3d 89, 95 (2d Cir. 2001)). This rule also bars

ineffective-assistance-of-counsel claims that were raised and resolved on direct appeal,

as well as those involving factual predicates that while not explicitly raised on direct

appeal, were impliedly rejected by the appellate court mandate. See id. at 53-54 (citations

omitted). An exception to this rule exists for cases involving intervening changes in the

law, in which case the petitioner “must show that there is new law which, when applied to

their claims, would result in a different disposition.” Chin v. United States, 622 F.2d 1090,



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1092 (2d Cir. 1980) (“Reconsideration [of claims previously raised on direct appeal] is

permitted only where there has been an intervening change in the law and the new law

would have exonerated a defendant had it been in force before the conviction was

affirmed on direct appeal.”) (citing United States v. Loschiavo, 531 F.2d 659, 664 (2d Cir.

1976)).

        Second, the “procedural default” rule bars the collateral review of claims that could

have been raised on direct appeal, unless the petitioner shows cause for failing to raise

the claims on direct review and actual “prejudice” or actual innocence. See Bousley, 523

U.S. at 622-23 (citations omitted); see also Marone v. United States, 10 F.3d 65, 67 (2d

Cir. 1993) (“In order to raise a claim that could have been raised on direct appeal, a §

2255 petitioner must show cause for failing to raise the claim at the appropriate time and

prejudice from the alleged error.”) This rule does not apply to ineffective-assistance-of-

counsel claims, which may be brought in a § 2255 motion regardless of whether they

could have been raised, or were raised, on direct appeal. See Massaro v. United States,

538 U.S. 500, 508-09, 123 S. Ct. 1690, 1696, 155 L. Ed. 2d 714 (2003).

        Discovery in § 2255 proceedings is governed by Rule 6 of the Rules Governing

Section 2255 Proceedings for the United States District Courts. Leave of court is required

to engage in discovery, which may be granted for good cause. See Rule 6 (a). Such

discovery is conducted under the Federal Rules of Criminal or Civil Procedure, or “in

accordance with the practices and principles of law.” 3 Id. The party requesting discovery

must provide reasons for the request, which must “include any proposed interrogatories

and requests for admission, and must specify any requested documents.” Rule 6 (b).


3 “If necessary for effective discovery, the judge must appoint an attorney for a moving party who qualifies

to have counsel appointed under 18 U.S.C. § 3006A.” Rule 6 (a).

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       A petitioner may also be entitled to an evidentiary hearing. Section 2255 provides

that a court shall hold an evidentiary hearing “[u]nless the motion and the files and records

of the case conclusively show that the prisoner is entitled to no relief.” To determine

whether a hearing is necessary, the court “must review the answer, any transcripts and

records of prior proceedings, and any [additional materials submitted by the parties].”

Rule 8 (a). If a hearing is necessary, the court must appoint an attorney to any moving

party who qualifies for the appointment of counsel under 18 U.S.C. § 3006A. See Rule 8

(c). A hearing is generally warranted only where the petitioner establishes a plausible

claim. See Puglisi v. United States, 586 F.3d 209, 213 (2d Cir. 2009).

       The Second Circuit has further described the standard for holding a § 2255

evidentiary hearing as follows:

              In ruling on a motion under § 2255, the district court is required
              to hold a hearing “[u]nless the motion and the files and records
              of the case conclusively show that the prisoner is entitled to
              no relief.” 28 U.S.C. § 2255; see, e.g., Pham v. United States,
              317 F.3d 178, 185 (2d Cir. 2003) (§ 2255 does not permit
              summary dismissals of motions that present facially valid
              claims). However, the filing of a motion pursuant to § 2255
              does not automatically entitle the movant to a hearing; that
              section does not imply that there must be a hearing where the
              allegations are “vague, conclusory, or palpably incredible.”
              Machibroda v. United States, 368 U.S. 487, 495, 82 S. Ct.
              510, 7 L. Ed. 2d 473 (1962); see, e.g., Chang v. United States,
              250 F.3d 79, 85 (2d Cir. 2001). To warrant a hearing, the
              motion must set forth specific facts supported by competent
              evidence, raising detailed and controverted issues of fact that,
              if proved at a hearing, would entitle him to relief. See, e.g.,
              Machibroda, 368 U.S at 494, 82 S. Ct. 510; United States v.
              Aiello, 814 F.2d 109, 113-14 (2d Cir. 1987).

Gonzalez v. United States, 722 F.3d 118, 130-31 (2d Cir. 2013).

       Finally, waiver principles also apply. It is by now well established that a knowing

and voluntary waiver made as part of a plea agreement is presumptively and generally

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enforceable. See Sanford v. United States, 841 F.3d 578, 580 (2d Cir. 2016) (per curiam);

see also United States v. Riggi, 649 F.3d 143, 147 (2d Cir. 2011); United States v.

Hernandez, 242 F.3d 110, 113 (2d Cir. 2001). “An enforceable waiver bars claims based

on grounds that arose after, as well as before, the [plea] agreement was signed.” Muniz

v. United States, 360 F. Supp. 2d 574, 577 (S.D.N.Y. 2005). Thus, “[i]n no circumstance

. . . may a [petitioner] who has secured the benefits of a plea agreement and knowingly

and voluntarily waived the right to appeal a certain sentence, then appeal the merits of a

sentence conforming to the agreement. Such a remedy would render the plea bargaining

process and the resulting agreement meaningless.” United States v. Salcido-Contreras,

990 F.2d 51, 53 (2d Cir. 1993). Waivers, however, are strictly construed against the

government due to its greater bargaining power and because it usually drafts the plea

agreement. See Yushuvayev v. United States, 532 F. Supp. 2d 455, 468 (E.D.N.Y. 2008).

       There are, however, narrow exceptions to the general enforceability of waivers,

including:

               (1) when the waiver was not made knowingly, voluntarily, and
               competently, (2) when the sentence was imposed based on
               constitutionally impermissible factors, such as ethnic, racial or
               other prohibited biases, (3) when the government breached
               the plea agreement, or (4) when the sentencing court failed to
               enunciate any rationale for the defendant’s sentence, thus
               amounting to an abdication of judicial responsibility subject to
               mandamus.

Sanford, 841 F.3d at 580 (quoting United States v. Gomez-Perez, 215 F.3d 315, 319 (2d

Cir. 2000)).

       To determine whether a waiver is enforceable, courts examine the underlying

record and may rely on a defendant’s sworn statements during the plea allocution, see

Salerno v. Berbary, 389 F. Supp. 2d 480, 484 (W.D.N.Y. 2005), which statements “carr[y]

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such a strong presumption of accuracy that a district court does not, absent a substantial

reason to find otherwise, abuse its discretion in discrediting later self-serving and

contradictory testimony,” United States v. Juncal, 245 F.3d 166, 171 (2d Cir. 2001).

       But even “a waiver of appellate or collateral attack rights does not foreclose an

attack on the validity of the process by which a waiver has been procured,” such as a plea

agreement. Frederick v. Warden, Lewisburg Corr. Facility, 308 F.3d 192, 195 (2d Cir.

2002). A waiver may thus be unenforceable if the petitioner has a meritorious claim that

it was procured as the result of ineffective assistance of counsel. See United States v.

Monzon, 359 F.3d 110, 118-19 (2d Cir. 2004). Ineffective-assistance-of-counsel claims

involving post-plea events, however, do not survive the waiver. See United States v.

Laskaris, No. 11-CR-364, 16-CV-7207, 2018 WL 4863591, at *2 (E.D.N.Y. Sept. 28,

2018) (collecting cases).

       Relatedly, the valid entry of a guilty plea “conclusively resolves the question of

factual guilt supporting the conviction, thereby rendering any antecedent constitutional

violation bearing on factual guilt a non-issue.” United States v. Gregg, 463 F.3d 160, 164

(2d Cir. 2006); see Tollett v. Henderson, 411 U.S. 258, 267, 93 S. Ct. 1602, 1608, 36 L.

Ed. 2d 235 (1973) (noting that if a defendant validly admits guilt, “he may not thereafter

raise independent claims relating to the deprivation of constitutional rights that occurred

prior to the entry of the guilty plea”).

       Ultimately, the petitioner bears the burden of proving entitlement to relief under §

2255 by a preponderance of the evidence. See Galviz Zapata v. United States, 431 F.3d

395, 399 (2d Cir. 2005) (citing Williams v. United States, 481 F.2d 339, 346 (2d Cir.

1973)); see also Triana v. United States, 205 F.3d 36, 30 (2d Cir. 2000).



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B.      Brown’s Claims

        Construing Brown’s submissions and arguments liberally as required, see

Marmolejo v. United States, 196 F.3d 377, 378 (2d Cir. 1999) (per curiam), this Court

finds that he raises two claims. First, Brown seeks dismissal of the indictment against

him on the grounds that there was prosecutorial misconduct before the grand jury.

(Docket No. 905, pp. 19-24.) He bases this claim on a grand jury witness’s recantation

of his testimony and admission that he lied before the grand jury at the prosecutor’s

instruction. In support of this claim, Brown relies on an affidavit from the grand jury

witness—his brother, Tyrone Brown 4—and disparaging articles 5 concerning the now

retired prosecutor. (Docket No. 981, pp. 18-35 (affidavit); Docket No. 905, pp. 30-47

(articles).

        Second, Brown claims that his trial counsel was ineffective for failing to

independently investigate restitution and for failing to request a restitution hearing as part

of the sentencing proceedings. (Docket No. 905, pp. 24-26.) He maintains that trial

counsel should have insisted that the government prove individual restitution through

victim testimony so that he could challenge the victims through cross-examination.

        Both of these claims are procedurally barred.              First, the waiver provisions in

Brown’s plea agreement must be enforced. Brown does not challenge the knowing and

voluntariness of his guilty plea, nor does he assert that his plea was the product of

ineffective assistance of counsel.          Instead, he appears to suggest that the waiver



4 Tyrone Brown is a co-defendant in this case.  He pleaded guilty to participating in the RICO conspiracy
charged in Count 2 of the fourth superseding indictment. (Docket Nos. 629, 630.) He too received a 264-
month sentence. (Docket Nos. 763, 764.)
5 It appears that these articles were independently published by an individual whom the prosecutor
prosecuted. The articles do not relate to this case in any manner.

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provisions of his plea agreement are inapplicable because he entered his plea before he

learned of the alleged prosecutorial misconduct and before his attorney was ineffective

regarding restitution. This argument holds no merit.

       The Second Circuit has “long enforced waivers of direct appeal rights in plea

agreements, even though the grounds for appeal arose after the plea agreement was

entered into.” Garcia-Santos v. United States, 273 F.3d 506, 509 (2d Cir. 2001) (citing

United States v. Yemitan, 70 F.3d 746, 747-48 (2d Cir. 1995)); see also United States v.

Harrison, 699 F.3d 158, 159 (2d Cir. 2012) (per curiam) (finding that the petitioner’s

“inability to foresee that subsequently decided cases would create new appeal issues

does not supply a basis for failing to enforce an appeal waiver”) (quoting United States v.

Riggi, 649 F.3d 143, 150 n. 7 (2d Cir. 2011)); Medina v. United States, 16 Civ. 5043

(AT)(JCF), 94 Cr. 0872 (SAS)(JCF), 2017 WL 476670, at *2 (S.D.N.Y. Feb. 3, 2017)

(citing Garcia-Santos in rejecting a petitioner’s argument that his waiver was not knowing

and voluntary “because he could not have known ‘that he was also waiving a right that

didn’t exist at the time of the guilty plea’”). The same is true for enforcement of waivers

of collateral attack under § 2255. See Garcia-Santos, 273 F.3d at 509 (“The reasons for

enforcing waivers of direct appeal [when the grounds for appeal arose after the plea

agreement was entered into] lead us to the same conclusion as to waivers of collateral

attack under § 2255.”).

       In the face of a knowing and voluntary guilty plea, this Court must enforce the

waiver provisions of the plea agreement. In paragraphs 25 and 26, Brown agreed to

waive his rights to appeal and collaterally attack his sentence if this Court sentenced him

within or less than the calculated sentencing range for imprisonment, which it did. Brown



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also agreed that the waiver would extend to previously unknown facts or changes in the

law. These waiver provisions are enforceable and bar each of Brown’s present claims.

       Second, Brown’s prosecutorial-misconduct claim is barred by his valid guilty plea,

wherein he admitted murdering Marquay Lee in Martin Luther King Park on May 12, 2012,

shooting four other individuals during that same incident, and involving himself in three

other attempted murders. (Plea Agreement, ¶ 5.) As noted above, the valid entry of a

guilty plea “conclusively resolves the question of factual guilt supporting the conviction,

thereby rendering any antecedent constitutional violation bearing on factual guilt a non-

issue.” Gregg, 463 F.3d at 164; see Tollett, 411 U.S. at 267 (noting that if a defendant

validly admits guilt, “he may not thereafter raise independent claims relating to the

deprivation of constitutional rights that occurred prior to the entry of the guilty plea”).

       Third, Brown’s ineffective-assistance-of-counsel claim is not the type that survives

the appeal waiver.      Not all ineffective-assistance-of-counsel claims are barred by

enforceable waivers because “a waiver of appellate or collateral attack rights does not

foreclose an attack on the validity of the process by which the waiver has been procured,”

such as a plea agreement. Frederick, 308 F.3d at 195; see El Saleh v. United States, 13-

CV-1567 (DLI), 2016 WL 4734601, at *3 (E.D.N.Y. Sept. 9, 2016) (“[A] defendant cannot

be bound by an appeal waiver if the decision to enter a plea agreement was the product

of counsel’s ineffective assistance”) (citing Hernandez, 242 F.3d at 114)). Thus, “[a]n

ineffective assistance of counsel claim survives the guilty plea or the appeal waiver only

where the claim concerns the advice the defendant received from counsel.” Parisi v.

United States, 529 F.3d 134, 138-39 (2d Cir. 2008) (emphasis added). This is because,

if a petitioner challenges counsel’s effectiveness in connection with the plea agreement



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itself, he is in essence challenging the constitutionality of the process by which he waived

his right to collaterally attack the sentence, and his claim therefore survives the waiver.

Id. (“although challenging the attorney’s role in shaping the defendant’s bargaining

position cannot avoid the waiver, challenging the attorney’s advice about that bargaining

position, by connecting the knowing and voluntary nature of the defendant’s plea decision

with the attorney’s conduct, does.”); see also El Saleh, 2016 WL 4734601, at *3 (“[W]here

an attorney’s ineffective assistance caused a defendant to agree to a waiver, a court must

look past the waiver and examine the underlying merits of the ineffective assistance

claim.”). In short, ineffective-assistance-of-counsel claims that affect the plea process

survive the waiver, and those that do not, do not. See id. at *5.

       Here, Brown asserts an ineffective-assistance-of-counsel claim that does not

survive the waiver. He maintains that his lawyer was ineffective for not challenging

restitution, either by demanding a hearing or conducting his own investigation. This

alleged ineffectiveness, however, does not relate to the constitutionality of the process by

which Brown pleaded guilty and waived his collateral attack and appeal rights. The claim

therefore does not survive the waiver. See Parisi, 529 F.3d at 138-39; see also United

States v. Djelevic, 161 F.3d 104, 107 (2d Cir. 1998) (“[D]efendant claims that his waiver

should not bar consideration of his appeal because counsel was ineffective not at the time

of the plea, but at sentencing. We emphatically reject this contention.”); United States v.

Jimenez, 106 F. App’x 92, 93 (2d Cir. 2004) (citing Monzon, 359 F.3d at 118 (“[A] claim

of ineffective assistance is waived when . . . it attacks the sentence itself and not the

underlying plea agreement that supported the sentence.”)); United States v. Laskaris, No.

11-CR-364, 16-CV-7207, 2018 WL 4863591, at *2 (E.D.N.Y. Sept. 28, 2018) (collecting



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cases).

       For all of these reasons, Brown’s claims are barred.

C.     Discovery is not required.

       Brown includes a request for discovery in his motion. (Docket No. 905, p. 16.) As

noted above, the party requesting discovery must provide reasons for the request, which

must “include any proposed interrogatories and requests for admission, and must specify

any requested documents.” Rule 6 (b). The court may then grant discovery if it finds

good cause to do so. See Rule 6 (a).

       Here, Brown includes only a pro forma request for discovery. He has not explained

why discovery is necessary, nor has he specified or proposed the type of discovery he

seeks. The only specific request that Brown makes is to secure an affidavit from his

brother, but the record reflects that Brown submitted his brother’s affidavit together with

his reply papers. (See Docket 981, pp. 18-35.) In any event, given that the record

conclusively demonstrates that Brown is not entitled to relief, there is no basis to permit

discovery. This request is therefore denied.

D.     No evidentiary hearing is required.

       In his motion, Brown requests the opportunity to advance his claims at an

evidentiary hearing. As indicated above, § 2255 provides that a court shall hold an

evidentiary hearing “[u]nless the motion and the files and records of the case conclusively

show that the prisoner is entitled to no relief.” Rule 4 (b) also provides that “[i]f it plainly

appears from the motion, any attached exhibits, and the record of prior proceedings that

the moving party is not entitled to relief, the judge must dismiss the motion . . . .”

       Here, no evidentiary hearing is required because Brown’s motion and the record



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conclusively demonstrate that Brown is entitled to no relief under § 2255. Consequently,

this Court finds that no hearing is warranted or required. See Orbach v. United States,

11 Cr. 111 (NRB), 2017 WL 5632815, at *7 (S.D.N.Y. Nov. 7, 2017) (denying request for

a § 2255 hearing where “[t]he existing record is conclusive that petitioner is not entitled

to relief on any theory presented to [the court]”).

E.     Certificate of Appealability

       For a certificate of appealability to issue, a petitioner must make a “substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253 (c)(2). To make the

required “substantial showing,” Brown must establish that “reasonable jurists could

debate whether . . . the petition should have been resolved in a different manner or that

the issues presented were adequate to deserve encouragement to proceed further.”

Rhagi v. Artuz, 309 F.3d 103, 106 (2d Cir. 2002) (per curiam) (citations and internal

quotation marks omitted). Brown has made no such substantial showing of the denial of

a constitutional right in this case. A certificate of appealability will therefore not be issued.

                                      IV. CONCLUSION

       For the reasons stated above, Brown’s Motion to Vacate, Set Aside or Correct his

Sentence is denied. If Brown wishes to appeal, he must file a Notice of Appeal with the

Clerk’s Office, United States District Court, Western District of New York, within 60 days

of the date of judgment in this action. Requests to proceed on appeal as a poor person,

if any, must be filed with the United States Court of Appeals for the Second Circuit, in

accordance with the requirements of Rule 24 of the Federal Rules of Appellate Procedure.

                                         V. ORDERS

       IT HEREBY IS ORDERED, that Petitioner’s Motion to Vacate, Set Aside or Correct



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his Sentence and Conviction under 28 U.S.C. § 2255 (Docket No. 905) is DENIED.

         FURTHER, that this Court hereby certifies, pursuant to 28 U.S.C. § 1915 (a)(3)

and Rule 24 (a)(3) of the Federal Rules of Appellate Procedure, that any appeal from this

Decision and Order would not be taken in good faith and therefore leave to appeal as a

poor person is DENIED. See Coppedge v. United States, 369 U.S. 438, 82 S. Ct. 917, 8

L. Ed. 2d 21 (1962).

         FURTHER, that a Certificate of Appealability under 28 U.S.C. § 2253 is DENIED.

         FURTHER, that the Clerk of Court is directed to CLOSE 17-CV-1278S.

         SO ORDERED.


Dated:         February 24, 2020
               Buffalo, New York
                                                        s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                      United States District Judge




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